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                                                                                    04/25/2019


                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  DAMIAN STINNIE, et al.,                       )
      Plaintiffs,                               )       Civil Action No. 3:16cv00044
                                                )
  v.                                            )       ORDER
                                                )
  RICHARD D. HOLCOMB,                           )       By:    Joel C. Hoppe
       Defendant.                               )              United States Magistrate Judge

         This matter is before the Court on Defendant’s Expedited Motion to Stay Discovery. ECF

  No. 144 (Apr. 24, 2019). Defendant requests expedited briefing on this non-dispositive motion,

  as well as an order staying “discovery pending resolution of his contemporaneously-filed Motion

  to Dismiss Case as Moot.” Def.’s Expedited Mot. to Stay Disc. 1 (citing ECF No. 142). Both

  motions are based on the Virginia General Assembly’s passage of Budget Amendment No. 33,

  which will be “effective through the second year of Virginia’s two-year budget cycle: July 1,

  2019 through June 20, 2020.” Def.’s Br. in Supp. of Mot. to Dismiss 5, ECF No. 143 (Apr. 23,

  2019); see also Def.’s Expedited Mot. to Stay Disc. 1–2.

         This amendment passed on Wednesday, April 3, 2019. Id. Defendant does not explain

  why he waited a full three weeks to file his “expedited” motion to stay discovery, even though he

  knew discovery in this matter closes on May 16, 2019. See Def.’s Expedited Mot. to Stay Disc. 2

  (citing ECF No. 123). Nor has he shown good cause for affording Plaintiffs only two days to

  respond to his motion, id. at 3, when the presiding District Judge’s scheduling order typically

  affords a party fourteen days from the date of service to file a brief in opposition, ECF No. 11.

  See Fed. R. Civ. P. 16(b)(4).

         Nonetheless, the Court will take Defendant’s motion, ECF No. 144, under advisement

  and set a shortened briefing schedule. Plaintiffs should file any brief in opposition to Defendant’s



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  motion to stay discovery on or before Wednesday, May 1, 2019. Defendant may file a reply

  brief on or before Friday, May 3, 2019. The Court will hold a hearing on this motion the week

  of May 6, 2019.

         Both parties are reminded that discovery is ongoing under the Court’s December 7, 2018

  Order adopting their agreed-upon schedule. ECF No. 123. The deadline to complete discovery is

  May 16, 2019, id. ¶ 3, and all written discovery must be served with sufficient time to allow the

  responding party time to respond before that date, ECF No. 11. Depositions should proceed as

  scheduled. The Court expects that the parties will continue to meet their discovery obligations

  while Defendant’s motion to stay is under advisement. Nothing in this interim Order should be

  construed as staying or extending any current deadlines.

         It is so ORDERED.

                                                       ENTERED: April 25, 2019



                                                       Joel C. Hoppe
                                                       United States Magistrate Judge




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